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1    MUNGER CHADWICK, P.L.C.
     National Bank Plaza
2
     333 North Wilmot, Suite 300
3    Tucson, Arizona 85711
     Telephone: (520) 721-1900
4    Facsimile: (520) 747-1550
5
     Mark E. Chadwick
6    mechadwick@mungerchadwick.com
     ASB # 014991
7
     Attorney for: Plaintiff
8
                       IN THE UNITED STATES DISTRICT COURT
9                          FOR THE DISTRICT OF ARIZONA
10
     KOLEEN GALLAGHER,
11
                         Plaintiff/                        NO. 4:17-MC-00005
12
                         Judgment Creditor,
13          vs.                                       WRIT OF EXECUTION AND
                                                             SUMMONS
14   RICHARD JAMES. GALLAGHER,                             (Non-Earnings)
15
                         Defendant/                     (Rue 69, Fed. R. Civ. Pro.;
16                       Judgment Debtor                 A.R.S. §§12-1572 – 1597)
17
     and
18
     JPMORGAN Chase Bank, N.A.
19   c/o CT Corporation System
20   3800 N. Central Ave., Suite 460
     Phoenix, AZ 85012
21
                        Executee/Garnishee.
22

23   THE UNITED STATES U.S. MARSHALL FOR THE DISTRICT OF ARIZONA OR
     ANY OTHER OFFICER OF PIMA COUNTY, WHO IS AUTHORIZED BY LAW TO
24   SERVE PROCESS:

25          You are directed to levy upon the property of the above-named Judgment Debtor
     told by the Executee/Garnishee to satisfy the money judgment in accordance with the
26   attached instructions, including but not limited to any and all bank accounts in which
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1    Richard J. Gallagher is designated as a payable on death beneficiary by any accounts owned
     by Josephine Marie Gallagher, including without limitation JP Morgan Chase, N.A. account
2    number 000000895605512.
3           JUDGMENT CREDITOR'S CLAIM OF $192,272.48 together with interest, costs
     and other relief in this action is against the following Judgment Debtor(s):
4
              RICHARD JAMES GALLAGHER
5
           THEREFORE, PURSUANT TO A.R.S. Sec. 12-1574, YOU ARE COMMANDED
6    to summon and appear before this Court the Executee/Garnishee whose name and address
     appears above and who is believed to be within your county.
7
              The Judgment Creditor states as follows:
8
            1.      The Judgment Creditor has a Judgment and an award of cost and attorney’s
9    fees against the above-described Judgment Debtor(s) with current amount of $192,272.48
     due, as of the date of issuance of this Writ of Garnishment.
10
              2.    The rate of interest on the award of costs and attorney’s fees is .58% on the
11                  principal sum of $192,272.48 from 1/29/2016 until paid.
12
              3.    Josephine Marie Gallagher died on May 21, 2017.
13

14            3.    The name and address of the Executee/Garnishee and/or the authorized agent
     is:
15
                    JPMorgan Chase Bank, N.A.
16                  c/o CT Corporation System
                    3800 N. Central Ave., Suite 460
17                  Phoenix, AZ 85012
18            4.    The Attorney for the Judgment Creditor's name and address is:
19                  Mark E. Chadwick
                    Munger Chadwick, PLC
20                  333 N. Wilmot, Suite 300
                    Tucson AZ 85701
21
              5.    The last known mailing addresses of the Judgment Debtor(s) are:
22
                    Richard James Gallagher
23                  c/o George E. Tuttle, Jr.
                    1225 Marth Custis Dr., Parc East 103
24                  Alexandria, Virginia 22302
                    Attorney for Judgment Debtors;
25

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1                 Richard James Gallagher
                  P.O. Box 273
2                 Hampstead, NC 28443
3           TO THE ABOVE-NAMED EXECUTEE:
4           EXECUTEE SHALL Answer in writing, under oath, within 10 days after the service
     of the Writ of Execution upon you, all of the following questions:
5
            1.     Whether the Executee was indebted to or otherwise in possession of monies
6    of the Judgment Debtor(s) at the time the Writ was served, including without limitation,
     any accounts in which Richard J. Gallagher is designated as payable upon death beneficiary,
7    including, without limitation, JP Morgan Chase, N.A. account number 000000895605512.
8           2.    The total amount of indebtedness or monies in possession of the Executee at
     the time the Writ was served, including, without limitation, the amount of money which
9    was owned by the deceased Josephine Marie Gallagher.
10         3.     The amount of indebtedness or monies withheld by the Executee pursuant to
     the Writ.
11
            4.     The amount of indebtedness or monies not withheld by the Executee, and the
12   reason for not withholding.
13         5.      Whether the Executee was in possession of personal property of the Judgment
     Debtor(s) at the time the Writ was served.
14
          6.    A description of each item, or group of items, of personal property of the
15   Judgment Debtor(s) in the Executee's possession at the time the Writ was served.
16          7.    A list of the personal property withheld by the Executee pursuant to the Writ.
17        8.    What other person or entity, within his knowledge, is indebted to the
     Judgment Debtor(s) or in possession of personal property of the Judgment Debtor(s).
18
            9.     Whether the Executee is a corporation in which the Judgment Debtor(s) owns
19   shares of stock or some other interest.
20         10.    A statement of the number and types of shares owned by the Judgment
     Debtor(s) and a description of any other interests the Judgment Debtor(s) own in the
21   Garnishment.
22          11.   The name, address and telephone number of the Garnishee.
23        12.   The date and manner of delivery of a copy of the Writ and the Notice to the
     Judgment Debtor(s).
24
            13.    The date and manner of delivery of a copy of the Answer to the Judgment
25   Creditor and Judgment Debtor.
26


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1           FROM AND AFTER SERVICE OF THE Writ of Execution, the Executee shall not
     pay to the Judgment Debtor(s) any debt which is not exempt, nor turn over any non-exempt
2    personal property, stock or any other interest the Judgment Debtor(s) owns in the Executee
     corporation to the Judgment Debtor(s).
3

4
                                            SUMMONS
5
             In obedience to the attached and foregoing Writ of Execution, I DO HEREBY
6    SUMMON AND REQUIRE YOU TO APPEAR and answer the foregoing Writ and in the
     manner prescribed by law within the times prescribed in said Writ. You are hereby notified
7    that in case you fail to so answer, the Court may issue an order requiring you to appear in
     person before it to answer the Writ or to file and serve, at least five (5) days before the
8    appearance date, a copy of the answer on the party for whom the Writ has been issued, or
     on his attorney if the party is represented by counsel. If you fail to appear or to file and
9    serve the answer as specified in the order, judgment by default may be rendered against you
     for the full amount of the relief demanded in the Complaint of the Plaintiff and not merely
10   for the amount you may owe to the Defendant, and that such judgment may be so rendered
     in addition to any other matters which may be adjudged against you as prescribed by law.
11   Federal Rules of Civil Procedure 4(c).
12   REQUESTS FOR REASONABLE ACCOMMODATION FOR PERSONS WITH
     DISABILITIES MUST BE MADE TO THE COURT BY PARTIES AT LEAST 3
13   WORKING DAYS IN ADVANCE OF A SCHEDULED COURT PROCEEDING
14          DATED                                                   .
15

16
                                               Clerk of the United States District Court
17

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19

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